OAO 435            Case 3:17-cv-00293-LRH-CBC                  Document
                                 Administrative Office of the United            58-1 Filed 04/03/19 FOR
                                                                     States Courts                   Page  1 of
                                                                                                        COURT USE3ONLY
(Rev. 04/11) (NVD Rev. 10/16)                                                                                            DUE DATE:
                                                        TRANSCRIPT ORDER
Read Instructions attached:
1. NAME                                                                              2. PHONE NUMBER                     3. DATE

4. FIRM NAME


5. MAILING ADDRESS                                                                   6. CITY                             7. STATE          8. ZIP CODE

9. CASE NUMBER                                 10. JUDGE                                                  DATES OF PROCEEDINGS
                                                                                     11.                            12.
13. CASE NAME                                                                                            LOCATION OF PROCEEDINGS
                                                                                     14.                            15. STATE
16. ORDER FOR
     APPEAL                                         CRIMINAL                               BANKRUPTCY                                OTHER (Specify)
     NON-APPEAL                                     CIVIL                                  IN FORMA PAUPERIS

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

             PORTIONS                                            DATE(S)                       PORTION(S)                              DATE(S)
     VOIR DIRE                                                                             TESTIMONY (Specify witness)
     OPENING STATEMENT (Plaintiff)
     OPENING STATEMENT (Defendant)
     CLOSING ARGUMENT (Plaintiff)                                                          PRE-TRIAL PROCEEDING
     CLOSING ARGUMENT (Defendant)
     OPINION OF COURT
     JURY INSTRUCTIONS                                                                     OTHER (Specify)
     SENTENCING
     BAIL HEARING
18. ORDER
                              ORIGINAL                   FIRST          # OF           DELIVERY INSTRUCTIONS                       ESTIMATED COSTS
  CATEGORY             (Includes Certified Copy to       COPY        ADDITIONAL            (check all that apply)
                      Clerk for Records of the Court)
                                                                       COPIES
   ORDINARY
    14-DAY                                                                           PAPER COPY
  EXPEDITED                                                                          E-MAIL
                                                                                     DISK
     DAILY
                                                                                     PDF FORMAT
    HOURLY
                                                                                     ASCII FORMAT
  REALTIME
                                                                                     E-MAIL ADDRESS
                         CERTIFICATION (19. & 20.)
               By signing below, I certify that I will pay all charges
                            (deposit plus additional).
19. SIGNATURE
                                                                                     NOTE: IF ORDERING BOTH PAPER AND
                                                                                     ELECTRONIC COPIES, THERE WILL BE AN
20. DATE
                                                                                     ADDITIONAL CHARGE.
TRANSCRIPT TO BE PREPARED BY
                                                                                     ESTIMATE TOTAL
                                                                                                                                        0.00
                                                         DATE              BY        PROCESSED BY                         PHONE NUMBER
ORDER RECEIVED

DEPOSIT PAID                                                                         DEPOSIT PAID

TRANSCRIPT ORDERED                                                                   TOTAL CHARGES                                      0.00

TRANSCRIPT RECEIVED                                                                  LESS DEPOSIT                                       0.00
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                                TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                            TOTAL DUE                                          0.00

                     DISTRIBUTION:                      COURT COPY         TRANSCRIPTION COPY        ORDER RECEIPT         ORDER COPY


           Print                              Save As...                                                                                     Reset
       Case 3:17-cv-00293-LRH-CBC Document 58-1 Filed 04/03/19 Page 2 of 3



AO 435
(Rev. 04/11) (NVD Rev. 10/16)
                                                 INSTRUCTIONS

                                  DO NOT E-FILE TRANSCRIPT ORDER FORMS

GENERAL -

Use. Use this form to order the transcription of proceedings. Complete a separate order form for each case
number for which transcripts are ordered.

Completion. Complete Items 1-20. Do not complete shaded areas which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Submitting to the Court. Submit the form in the format required by the court. See the court’s website for
e-mail addresses. E-mail directly to the reporter/recorder for the assigned presiding District Judge.

Deposit Fee. The court will notify you of the amount of the required deposit fee which may be mailed or
delivered to the court. Upon receipt of the deposit, the court will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts
ordered by the federal government from the date of receipt of the signed order form.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance
due which must be paid prior to receiving the completed order.


SPECIFIC -

Items 1-20.         These items should always be completed.

Item 9.             Only one case number may be listed per order.

Item 16.            Place an “X” in each box that applies.

Item 17.            Place an “X” in the box for each portion requested. List specific date(s) of the proceedings
                    for which transcript is requested. Be sure that the description is clearly written to facilitate
                    processing. Orders may be placed for as few pages of transcript as are needed.

Item 18.            Categories - There are 6 categories of transcripts which may be ordered. These are:

                                Ordinary -    A transcript to be delivered within 30 calendar days after receipt
                                              of an order. (Order is considered received upon receipt of the
                                              deposit.)

                                14-Day -      A transcript to be delivered within 14 calendar days after receipt
                                              of an order.


                                                    Page 2 of 3
      Case 3:17-cv-00293-LRH-CBC Document 58-1 Filed 04/03/19 Page 3 of 3



                        Expedited -      A transcript to be delivered within 7 calendar days after receipt of
                                         an order.

                        Daily -          A transcript to be delivered following adjournment and prior to the
                                         normal opening hour of the court on the following morning
                                         whether or not it actually is a court day.

                        Hourly -         A transcript of proceedings ordered under unusual circumstances
                                         to be delivered within 2 hours.

                        Realtime -       A draft unedited transcript produced by a certified realtime
                                         reporter as a byproduct of realtime to be delivered electronically
                                         during proceedings or immediately following adjournment.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For
example, if an order for expedited transcript is not completed and delivered within 7 calendar days, payment
would be at the 14-day delivery rate, and if not completed and delivered within 14 calendar days, payment
would be at the ordinary delivery rate.

                Ordering - Place an “X” in each box that applies. Indicate the number of additional copies
                ordered.

                        Original -       Original typing of the transcript. An original must be ordered and
                                         prepared prior to the availability of copies. The original fee is
                                         charged only once. The fee for the original includes the copy for
                                         the records of the court.

                        First Copy -     First copy of the transcript after the original has been prepared.
                                         All parties ordering copies must pay this rate for the first copy
                                         ordered.

                        Additional Copies - All other copies of the transcript ordered by the same party.

                        Delivery Instructions - Place an “X” in each box that applies. If ordering multiple
                                                formats, there will be an additional copy charge. Provide
                                                an e-mail address where electronic e-mail copy should be
                                                sent.

Item 19.                Sign in this space to certify that you will pay all charges. (This includes the deposit
                        plus any additional charges.)

Item 20.                Enter the date of signing.


Shaded Area - Reserved for the court’s use.


NOTE: If you are CJA appointed counsel, do not use this AO 435 Transcript Order form. You must submit
your request through the Court’s electronic voucher management system, CJA eVoucher.



                                               Page 3 of 3
